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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                    12/29/2020
CYNN WYNTER,
              Plaintiff,                         20-CV-2429 (LAK) (BCM)
       -against-                                 ORDER
VICTORIA'S SECRET, INC., et al.,
              Defendants.

BARBARA MOSES, United States Magistrate Judge.

       The telephonic status conference currently scheduled for January 28, 2021 at 10:00 a.m.

shall instead start at 12:00 noon. The dial-in information and pre-conference requirements

remain the same. See Dkt. No. 18 ¶ 7.

Dated: New York, New York
       December 29, 2020                   SO ORDERED.



                                           ________________________________
                                           BARBARA MOSES
                                           United States Magistrate Judge
